Case 1:18-cv-21454-MGC Document 22 Entered on FLSD Docket 06/26/2018 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 18-CV-21454-MGC

  PEPITO RODRIGUEZ, JR.,

                 Plaintiff,

                 vs.

  REX AUTO SERVICE CORP, a Florida
  Profit Corporation; OSWALDO
  CARRIZO, Individual,

                 Defendants.
  _____________________________________/

           NOTICE STRIKING THE OFFER OF JUDGMENT FILED IN ERROR
         Defendants, REX AUTO SERVICE CORP, a Florida Profit Corporation;

  OSWALDO CARRIZO, Individual, (“Defendants”) hereby file this notice striking the filing of

  the offer of judgment.

         1. Offer of Judgment was filed in error by the office.


  DATED: June 26, 2018                        Law Office of Julio Gutierrez, P.A.

                                              Respectfully submitted,

                                              JULIO GUTIERREZ, P.A.
                                              2464 S.W. 137 Avenue
                                              Miami, Florida 33175
                                              Tel: (305) 325-8600
                                              Fax: (305) 553-9313

                                              /s/ Julio Gutierrez

                                              JULIO GUTIERREZ
                                              Florida Bar no.602426
                                              jgpa@msn.com
Case 1:18-cv-21454-MGC Document 22 Entered on FLSD Docket 06/26/2018 Page 2 of 2



                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished on

  June 26, 2018, by the Law Office of Julio Gutierrez, P.A., via CM/ECF to:

         Fairlaw Firm, Attorneys for Plaintiff, Pepito Rodriguez, c/o Brian H. Pollock, at
         brian@fairlawattorney.com; and

                                                            /s/ Julio Gutierrez, Esq.
                                                            Julio Gutierrez, Esq.
                                                            FBN: 602426
